Case 18-62370-wlh       Doc 74     Filed 02/04/21 Entered 02/09/21 14:31:24 Desc Main
FALCONE                            Document       Focusing
                                                 Page 1 of 1on complicated bankruptcy matters
                                                               family law and small business law
LAW       FIRM



                                                     January 14, 2021



Cynthia Eadon                                                         Court
                                                                                       3777111
                                             Filed in U:S. Bankruptcy
                                                     Atlanta, qeorgla ,
Courtroom Deputy Clerk to Judge Hagenau         M. Recline Thomas,Cle
1471 US Courthouse                                                             FE13 04 2021 -
75 Ted Turner Dr., SW                                                         WENDY L HA3E!tkl.,1
Atlanta, GA 30303                                                             BANKRUPTCY .1Uu31:,

                                                      Deputy Clerk
              RE:     Connie Sanders, Debtor
                      Case No. 18-62370; Chapter 7

Dear Clerk:

       Please be advised that Ian M. Falcone is requesting a leave of absence pursuant to Local
Rule 9010-5. Mr. Falcone is requesting that a case not be calendared during the following .
periods:

       March 2, 2021

       The purpose of this leave is: speaking engagement.

       Mr. Falcone has examined the court docket and the above-styled cases do not presently
appear on any published calendar for said period.

     Your assistance in this matter is sincerely appreciated. Should you have any questions or
comments, please do not hesitate to contact me.

                                                     Very truly yours,
                                                     THE F LCONE LAW FIRM, PC


                                                       M. Falcone
                                                     GA Bar. No. 254470

CC:    S. Gregory Hays, Trustee




                        363 Lawrence Street • Marietta, GA 30060
                       (770) 426-9359 • attorneys@falconefirm.com
